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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION
                          Civil Hearing Minutes

Case Style:                Currin v. Beavers, et al.; 3:22cv20350-MCR/ZCB

Type of Hearing:           Motion Hearing (ECF 106 and 115)

Time Commenced:            1:40 p.m.         Time Concluded:           2:20 p.m.

Presiding:                 Zachary C. Bolitho, U.S. Magistrate Judge

Court Reporter:            DCR

Courtroom Deputy:          Sylvia Williams


Attorney(s) for Plaintiffs:
James Cook, Esquire

Attorney(s) for Defendants:
Michele Bachoon, Esquire

Florida Department of Corrections:
Christine Wolfe, Esquire
Charles Martin, Esquire

This hearing included attendance by:

              Videoconferencing/ZOOM:             ___ YES     _X__ NO

              Telephone:                          ___ YES      _X__ NO


Filed 5/30/2024
CRD initials: sdw
